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 6   Counsel for Cooper & Kirkham, P.C.
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10
                                 UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12
                                          OAKLAND DIVISION
13
14
     IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 4:07-cv-5944-JST
15   ANTITRUST LITIGATION
                                                    MDL No. 1917
16
17   This Document Relates to:                      NOTICE OF APPEAL
18   All Indirect Purchaser Actions
                                                    Judge: The Honorable Jon S. Tigar
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                                             NOTICE OF APPEAL
                                      Case No. 4:07-cv-5944, MDL No. 1917
         Case 4:07-cv-05944-JST Document 6081 Filed 09/30/22 Page 2 of 5




 1                                        NOTICE OF APPEAL

 2          NOTICE IS HEREBY GIVEN that Cooper & Kirkham, P.C., by and through its
 3
     undersigned counsel, hereby appeals to the United States Court of Appeals for the Ninth Circuit
 4
     from the September 27, 2022 Order Granting in Part Indirect Purchaser Plaintiffs’ Motion for
 5
     Distribution of Attorney’s Fees (ECF No. 6078).
 6
 7          Attached as Exhibit A is the Representation Statement pursuant to Fed. R. App. Proc. 12(b)

 8   and Ninth Circuit Rule 3-2.

 9   Dated: September 30, 2022                   Respectfully Submitted,
10                                                   /s/ Tracy R. Kirkham
                                                  Tracy R. Kirkham
11
                                                 Tracy R. Kirkham (69912)
12                                               John D. Bogdanov (215830)
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                                                 Counsel for Cooper & Kirkham, P.C.
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                                            NOTICE OF APPEAL
                                     Case No. 4:07-cv-5944, MDL No. 1917
         Case 4:07-cv-05944-JST Document 6081 Filed 09/30/22 Page 3 of 5




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that a true copy of the foregoing NOTICE OF APPEAL and
 3   REPRESENTATION STATEMENT was filed via CM/ECF on September 30, 2022 and as a result
 4   has been served on all counsel of record via transmission of Notices of Electronic Filing generated
 5   by CM/ECF.
 6
                                                  /s/ Tracy R. Kirkham
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                                                  Tracy R. Kirkham
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                                             NOTICE OF APPEAL
                                      Case No. 4:07-cv-5944, MDL No. 1917
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                   EXHIBIT A
       Case 4:07-cv-05944-JST Document 6081 Filed 09/30/22 Page 5 of 5




                                Representation Statement


                    Party                                     Counsel

Appellant:                                  Represented by:

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Appellee:                                   Represented by:

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                                            Lauren C. Capurro (241151)
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